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       May 28, 2024                                                     Brandon R. Dillman
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       Honorable Lewis A. Kaplan,
       United States District Judge
       Daniel Patrick Moynihan U.S. Courthouse
       500 Pearl Street
       New York, NY 10007

       Re:       In Re: Customs And Tax Administration Of The Kingdom Of Denmark
                 (Skatteforvaltningen) Tax Refund Scheme Litigation, Docket Number 18-md-2865;
                 Related Actions: 18-cv-05053, 18-cv-09797, 18-cv-09836, 18-cv-09837, 18-cv-
                 09838, 18-cv-09839, 18-cv-09840, 18-cv-09841, 18-cv-10100

       Dear Judge Kaplan,

              Defendants/Third-Party Plaintiffs in the above-referenced related-actions, (i) Acer
       Investment Group, LLC, (ii) Darren Wittwer, and (iii) Elaina M. Crema, as personal representative
       of the Estate of Robert V. Crema, have filed Amended Third-Party Complaints pursuant to the
       Court’s Order dated May 23, 2024 (Doc. No. 1017).

                Pretrial Order No. 4, dated October 10, 2018, requires all filings to be made in the master
       docket (18-md-2865) and “spread” to the action(s) it relates to; however, filing the amended third-
       party pleadings in the master docket would not allow the filing to be “spread” to the appropriate
       related action. To ensure that the Amended Third-Party Complaints are reflected in each related
       action, counsel filed the Amended Third-Party Complaints in their respective dockets.

              In an effort to comply with the Court’s Pretrial Order No. 4, I am filing this letter in the
       master docket and attaching the following Amended Third-Party Complaints:

             1. Acer Investment Group LLC’s First Amended Third-Party Complaint and Jury Demand
                [filed in 18-cv-05053, 18-cv-09797, 18-cv-09836, 18-cv-09837, 18-cv-09838, 18-cv-
                09839, 18-cv-09840, 18-cv-09841, 18-cv-101001];

             2. First Amended Third-Party Complaint and Jury Demand of Elaina M. Crema, as personal
                representative of the Estate of Robert V. Crema [filed in 18-cv-09841]; and




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3. Darren Wittwer’s First Amended Third-Party Complaint and Jury Demand [filed in 18-cv-
   09797].

                                             Respectfully submitted,

                                             /s/ Brandon R. Dillman

                                             Brandon R. Dillman




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                                                                                May 28, 2024
